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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK =~
[2] -7k

 

No. 17 Civ. 1646 (RJS)

 

NICOLAS EPSKAMP,
Petitioner,

VERSUS

UNITED STATES OF AMERICA,

Respondent.

 

No. 12 Cr. 120-2 (RJS)

 

UNITED STATES OF AMERICA,

VERSUS

NICOLAS EPSK AMP,

Defendant.

OPINION AND ORDER
December 27, 2018

RICHARD J. SULLIVAN, Circuit Judge:

Nicolas Epskamp petitions for a writ of “Petition’).)' For the reasons that follow,
habeas corpus pursuant to 28 U.S.C. § 2255, that petition is denied.
seeking to vacate, set aside, or correct the
264-month sentence imposed on him on
June 23, 2015. (Doc. No. 269 (the

 

' Unless otherwise indicated, citations to the docket
refer to those materials that appear in Petitioner’s
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I. BACKGROUND?

On December 15, 2011, law
enforcement officers from the Dominican
Republic and the United States Drug
Enforcement Administration arrested
Epskamp while he was aboard a private jet
containing over a ton of cocaine. (See, e.g.,
Doc. No. 175.) On July 2, 2012, a grand
jury returned an indictment charging
Epskamp and two co-defendants with one
count of conspiracy to possess with intent to
distribute five kilograms or more of cocaine
on board an aircraft registered in the United
States in violation of 21 U.S.C. §§ 812,
959(b), and 960(a)(3). (Doc. No. 4.)
Following Epskamp’s extradition from the
Dominican Republic, the Court appointed
attorneys Ira London and Avrom Robin as
Epskamp’s counsel pursuant to the Criminal
Justice Act, 18 U.S.C. § 3006A. (Doc. Nos.

 

criminal case, United States v. Nicolas Epskamp, 12-
cr-120.

° The following facts are drawn from the trial
transcript (Doc. Nos. 186, 188, 190, 192, 194, 196,
198 (collectively, “Tr.”)) and exhibits introduced at
trial. In ruling on the Petition, the Court has also
considered Petitioner’s declaration in support of the
Petition (Doc. No. 270), the government’s answer
(17-cv-1646, Doc. No. 8), and Petitioner’s reply (17-
cv-1646, Doc. No. 11). Although the Court construes
Petitioner’s pro se submissions liberally, see Haines
v. Kerner, 404 U.S. 519, 520-21 (1972) (per curiam),
the Court draws all factual inferences in favor of the
government in light of the jury’s guilty verdict, see
Quartararo v. Hansimaier, 186 F.3d 91, 96 (2d Cir.
1999).

* In a superseding indictment filed January 29, 2015
(Doc. No. 175), Epskamp was indicted on the
aforementioned conspiracy count as well as one
count of possessing with intent to distribute five
kilograms or more of cocaine on board an aircraft
registered in the United States in violation of 21
U.S.C. § 960(b)(1)(B).

29, 43.) London and Robin represented
Epskamp through both his trial and
subsequent appeal.

On March 1, 2013, Epskamp’s co-
defendant, Rawson Watson, filed a motion
to dismiss the indictment, which Epskamp
joined (see Doc. No. 58), arguing that 21
U.S.C. § 959(b) does not apply to
extraterritorial acts of drug possession. The
Court denied this motion, reasoning that
Section 959’s plain language and internal
structure compelled the conclusion that it
prohibited extraterritorial possession with
intent to distribute. (Doc. No. 72.)
Epskamp subsequently filed a motion to
suppress his own post-arrest statements on
the grounds that he was not given Miranda
warnings before being questioned by the
DEA (Doc. No. 63), which the Court denied
on June 20, 2018 (Doc. No. 78). In the same
order, the Court scheduled trial to begin on
September 9, 2013. (Doc. No. 78.)
However, after the adjournment of an
evidentiary hearing concerning Watson’s
motion to suppress post-arrest statements
and the granting of co-defendant Nayef
Fawaz’s attorney’s motion to withdraw
(Doc. No. 84), trial was adjourned to
October 21, 2013 (Doc. No. 85).

On September 6, 2013, Epskamp’s
counsel filed a motion under Rule 15 of the
Federal Rules of Criminal Procedure to
depose Cornelius Henderik de Jongh, whom
counsel believed could be “a_ potential
witness for Mr. Epskamp.” (Doc. No. 101.)
According to the motion, de Jongh, who was
“unavailable to testify at the upcoming trial”
because he was incarcerated in a German
prison (id. at 3), “would testify about
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conversations with Mr. Epskamp about what
was in the plane and the nature of the
transaction concerning those contents, as
well as Mr. Epskamp’s responsibility
regarding the shipment.” (/d. at 2.) Counsel
further advised the Court that de Jongh was
“expect[ed] . . . to testify to conversations he
had with Mr. Epskamp in which he invited
Mr. Epskamp to fly on the plane for a legal
purpose.” (/d. at 3.)

On October 3, 2013, the Court granted
counsel’s request to depose de Jongh (Doc.
No. 111), and at a conference on October 7,
2013, adjourned all pre-trial and trial
deadlines without a date pending completion
of the deposition. (See Doc. No. 112.)
Accordingly, following Epskamp’s request
for an extension, which the Court granted
(Doc. No. 125), Epskamp submitted a
proposed letter rogatory on December 6,
2013 (Doc. No. 132), which the Court
formally issued to German authorities on
December 9, 2013 to request the deposition
(Doc. No. 135). On July 29, 2014,
Epskamp’s counsel informed the Court via
letter that de Jongh’s deposition was
expected to take place on November 19 and
20, 2014. (See Doc. No. 158.) Counsel
noted, however, that German officials had
“advised [the parties] . . . to prepare and be
ready to submit to the German court [their]
proposed questions for the deponent ... .”
(d.) According to counsel’s letter, it was
necessary for both the government and
Epskamp to submit their questions to the
German court because “[a] key issue .. .
under German procedure” is that a German
judge — rather than the parties — questions a
deponent. (/d. (“In Germany, only the Judge
may question the deponent directly.”).) In

light of this procedural difference, the
government noted that it “reserve[d] the
right to argue on the admissibility of and the
weight given to the deposition testimony,
depending on how events unfold.” (/d.)
The Court granted Epskamp’s request for a
continuance so that defense counsel could
prepare for the deposition, authorized
payment for both of his lawyers to travel to
Germany for the deposition, directed
Epskamp’s counsel to submit a status letter
to the Court by November 24, 2014, and
excluded time under the Speedy Trial Act,
18 U.S.C. § 3161, through that date to allow
for the deposition. (/d.)

On November 7, 2014, Epskamp’s
counsel — “with the approval of [their]
client” — filed a letter with the Court
withdrawing the deposition request
regarding de Jongh and requesting that the
Court set a new trial date. (Doc. No. 160.)
The Court held a conference eleven days
later, at which counsel relayed Epskamp’s
request for an immediate trial and his
decision to withdraw his request to depose
de Jongh. (See 17-cv-1646, Doc. No. 8-1.)
In light of defense counsel’s unavailability
to try the case until February 2015, the
Court informed Epskamp that if he wanted
to have an earlier trial he could request the
appointment of new counsel. (/d. at 4:2-
11.) Epskamp declined that option, electing
to remain with his counsel even if it meant a
slightly later trial date. (Ud. at 4:11-13.)
Accordingly, after consulting with the
parties, the Court set trial for February 23,
2015. (id. at 4:16-24.) The Court also
granted the government’s request — without
objection from Epskamp’s counsel — to
exclude time pursuant to the Speedy Trial
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Act, and explained the following to
Epskamp:

So, Mr. Epskamp, we have talked
about this before, but you have a
right to a speedy trial, which
generally would require the trial to
be within 70 days of your
indictment. We are obviously well
past that, but that’s because the law
allows that time period to be
extended for good reason.... Much
of the time that we have stopped the
clock was to allow you to have these
depositions done in Germany of a
witness that you believed was
essential.

(Id. at 6:2-11.)

In response, Epskamp expressed his
concern regarding the length of time he had
waited to get a formal response from the
German authorities. (/d. at 6:12-16.) The
Court explained that letters rogatory and
requests for assistance from foreign
authorities involve “channels managed by
the Executive Branch,” and that this process
had “been the reason for adjourning and
extending the time for [Epskamp’s] case.”
Ud. at 6:17-23.) The Court further
explained to Epskamp that the trial could
now proceed because Epskamp no longer
wished to depose de Jongh. (/d. at 6:23-24.)
Epskamp noted that he found the delay
“very peculiar,” but he did not express any
second thoughts or desire to reconsider his
decision to withdraw the deposition request.
Ud, at 7:3-8.) There was no further
discussion about de Jongh at the November
18, 2014 hearing. (/d. at 7:9—9:6.)

On December 24, 2014, Epskamp’s
counsel filed a letter renewing their request
to offer de Jongh’s testimony at trial. (See
Doc. No. 169.) This time, however, counsel
sought to have de Jongh testify live at trial
via closed-circuit television (“CCTV”)
rather than by deposition. (/d.) Following a
letter from the government opposing this
request (Doc. No. 170 at 2-7), the Court
issued an order on January 7, 2015 directing
defense counsel to submit a reply to the
government’s opposition letter by January
16, 2015 explaining (1) the nature of de
Jongh’s testimony and its materiality, (2)
whether de Jongh was in fact willing to
testify, (3) the basis for cancelling the
previous Rule 15 request to depose de
Jongh, (4) whether the CCTV testimony
would be compliant with the United States
Constitution and United States law, and (5)
the prospects for arranging the CCTV
testimony in time for the trial scheduled to
begin on February 23, 2015 (id. at 1).

Defense counsel filed a timely reply
addressing all five of these issues on January
16, 2015. (Doc. No. 171.) According to
counsel, de Jongh’s testimony was material
because it would “provide crucial support
for the defense that [Epskamp] was invited
to accompany the flight from the Dominican
Republic for a legal purpose.” (/d. at 2.)
Counsel also indicated that de Jongh’s
attorney in Germany had “repeatedly
confirmed . . . that de Jongh [was] willing to
testify.” (/d.) As for the basis for cancelling
the prior deposition request, counsel stated
that it was “because [they] had what [they]
believed was an even more relevant witness
regarding Epskamp’s lack of knowledge that
the plane’s cargo was drugs.” (/d.)
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According to counsel, that witness, Rawson
Watson, had initially been willing to testify
at trial, but later “changed his mind and
decided not to testify... .” (Ud.) Counsel
believed that Watson’s “sudden about-face,”
which occurred after counsel withdrew the
Rule 15 deposition request for de Jongh,
“dictated [the] renewed request to [have de
Jongh testify].”. Ud.) And while counsel
could not confirm whether the proposed
CCTV testimony would conform with
federal procedural and evidentiary rules
because of difficulties reaching the German
prosecutor responsible for the matter,
counsel did note that — based on “the
existence of a Mutual Legal Assistance
Treaty between Germany and the United
States” and “discussions with [de Jongh’s
attorney in Germany]” — he “believe[d] the
proposed CCTV testimony [could] be set up
and done within the existing trial schedule . .
..” (Ud. (noting the process of securing the
CCTV testimony would be “significantly
less complicated than the Rule 15
deposition”).) On January 21, 2015, the
Court granted defense counsel’s request to
have de Jongh testify via CCTV at trial,
“provided [his] testimony [would] not delay
the trial and [would] be conducted in
accordance with U.S. federal criminal
procedure (i.e., de Jongh will testify under
oath and will be questioned directly by trial
counsel via CCTV).” (Doc. No. 173.)

On the day trial was set to begin,
February 23, 2015, counsel informed the
Court that they were unable to arrange the
CCTV testimony of de Jongh because “the
German prosecutor . . . ha[d] been totally

unresponsive.” (Tr. at 3:3-8.) According
to counsel, they had “phoned him” and “e-
mailed him as recently as the weekend
[before trial],” but he did not respond. (/d.)
Counsel stated that “[they] had done
everything [they] could do” to secure the
CCTV testimony, even adding that the
government had also attempted to contact
the German prosecutor by telephone and e-
mail to no avail. (Tr. 3:14-16; see also 4:5-
8.) When the Court asked counsel what he
proposed to do in light of the
unresponsiveness of the German prosecutor,
counsel suggested that the Court itself make
an attempt to reach the German prosecutor.
(id. at 3:16-17.) The Court demurred,
noting that such requests for foreign
assistance need to be “done through the
proper channels.” Ud. at 3:18-6:6.)
Significantly, counsel did not request an
adjournment of the trial to pursue the
testimony further.

During trial, at which de Jongh did not
testify, the government called a Dominican
Republic police officer and introduced a
copy of Epskamp’s flight itinerary to
establish that Epskamp traveled from the
Netherlands to the Dominican Republic on
or about December 4, 2011. (Tr. at 159:12—
164:12.) The government also called Pako
Podunajec, a cooperating witness and fellow
member of the conspiracy with Epskamp in
the Dominican Republic, who testified to
Epskamp’s knowledge that the planned
flight from the Dominican would transport a
“thousand [kilograms] of cocaine.” (/d. at

 

* Counsel also placed an objection on the record “to
the lack of response from the German government
[regarding their] request to CCTV . . . de Jongh’s
testimony.” (Tr. at 3:6-8.)
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265:13—266:55.) According to Podunajec,
he told Epskamp that the flight would travel
from the Dominican Republic to Belgium
with a thousand kilograms of cocaine on
board, and Epskamp responded by saying,
“Listen, I don’t need to know... how much
I am going [with] as long as I know when I
am going. That is good enough for me.”
(Id. at 266:8-10.) Epskamp and Podunajec
met several times in the run-up to the
flight’s departure. (/d. at 223.) During one
of those meetings, Epskamp told Podunajec
that he expected to receive credit for an
outstanding drug debt and a payment of
50,000 euros in return for traveling on the
flight with the drugs. (/d. at 224:2-25;
26:21-267:6.)

In addition to these witnesses, the
government called Special Agent Joseph
Thompson of the Drug Enforcement
Administration, who testified that after the
Dominican police arrested Epskamp on
board the aircraft as it awaited takeoff from

the Dominican Republic on the morning of ©

December 15, 2011, he entered the plane
and observed approximately 20 suitcases
filled with cocaine (totaling approximately
one thousand kilograms) and located several
of Epskamp’s personal belongings on the
aircraft, including his suit jacket and
computer bag. (/d. at 76:16—80:4; 87:19-
21.) To further corroborate Epskamp’s
participation in the conspiracy, the
government introduced text messages and
recordings of phone conversations between
Epskamp and his co-conspirators pursuant to
a Dominican Republic wiretap that revealed
Epskamp’s involvement in coordinating the
drug shipment. (See, e.g., Tr. at 309:22—
312:20; 599:6-602:24.) On March 3, 2015,

the jury convicted Epskamp on both counts.
(Ud. at 806:14—808:20.) Following his
conviction, Epskamp’s counsel filed a
motion for a judgment of acquittal pursuant
to Rule 29(c) of the Federal Rules of
Criminal Procedure, which the Court denied.
(Doc. Nos. 201, 202.)

Epskamp appeared for sentencing on
June 23, 2015. At the sentencing hearing,
Epskamp’s trial counsel argued that he was
eligible for a minor role adjustment under
section 3B1.2(b) of the United States
Sentencing Guidelines (“U.S.S.G.”) on the
grounds that he was a “fungible” actor
within the conspiracy. (Doc. No. 224
(Sent. Tr.”) at 16:25-19:18.) The Court
rejected that assertion, noting “Epskamp
[was no] more fungible than the pilots or...
many of the other links [in the conspiracy].”
(/d. at 20:16-18.) While the Court noted
that Epskamp “certainly wasn’t the architect
of the conspiracy” or its “leader,” the Court
concluded that he was not a minor
participant given that he was “hand-picked
to play his role,” spent over a week in the
Dominican Republic “helping to coordinate
the [transportation of the drugs],” and stood
to gain a substantial sum of money for his
participation. (/d. at 24:15—25:7.) In light
of those factors, the Court found that the
minor role adjustment was inapplicable to
Epskamp. (/d. at 25:6-7.) After determining
that the applicable range under the United
States Sentencing Guidelines was between
235 to 293 months’ imprisonment based on
Epskamp’s offense level of 38 and criminal
history category of I, the Court sentenced
Epskamp to 264 months in prison. (/d. at
26:2-8; 44:20-21.) The Court explained its
reasons for the 264-month sentence by
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noting that Epskamp’s involvement in the
conspiracy to transport a “metric ton of
cocaine” was a “serious” crime, that he
played an “important” role in the
conspiracy, and that he had three prior
convictions in Europe involving — large
quantities of drugs, including one for more
than a ton of cocaine. (/d. at 40:2-44:3.)

After sentencing, Epskamp appealed
both his conviction and his sentence to the
Second Circuit, arguing that: (1) the Court
lacked jurisdiction over Epskamp’s alleged
conduct under 21 U.S.C. § 959(b), (2) the
evidence at trial was insufficient to convict
him, (3) the Court erred by instructing the
jury that it could find Epskamp guilty
without determining whether he knew the
aircraft was registered in the United States,
(4) the Court abused its discretion by
denying Epskamp a minor role reduction
under U.S.S.G. § 3B1.2(b), and (5)
Epskamp’s Fifth and Sixth Amendment
rights were violated as a result of the
government’s failure to help arrange de
Jongh’s testimony. See Brief of Petitioner,
United States v. Epskamp, 832 F.3d 154 (2d
Cir. 2016) (No. 15-2028), 2015 WL
7308829. On August 5, 2016, the Second
Circuit, by way of both a written opinion
and a summary order, rejected all of
Epskamp’s claims and affirmed both his
conviction and sentence. United States v.
Epskamp (“Epskamp”), 832 F.3d 154 (2d
Cir. 2016); United States v. Epskamp
(“Epskamp IT’), 2016 WL 4191126 (2d Cir.
Aug, 5, 2016) (summary order). In the
written opinion, the Second Circuit
addressed only Epskamp’s argument
concerning the applicability of 21 U.S.C. §
959(b). Epskamp, 832 F.3d at 158. The

Second Circuit concluded that his remaining
claims — including that he should have
received a minor role reduction at
sentencing — “[did] not warrant significant
explication,” and therefore resolved them by
summary order. /d. In upholding the
Court’s denial of a minor role reduction via
the summary order, the Second Circuit noted
that “‘[t]he mere fact that Epskamp played a
discrete role as courier does not mean that
his role was necessarily minor.” Epskamp
IT, 2016 WL 4191126 at *2.

On March 3, 2017, Epskamp, proceeding
pro se, filed this Petition, alleging
ineffective assistance of counsel at both trial
and on appeal. (Doc. No. 269.) Attached to
Epskamp’s petition is an affidavit that he
claims is from de Jongh. (/d. at Ex. A.) The
affidavit, which was provided in both Dutch
and English, purports to summarize what de
Jongh would have testified to had he been
called as a witness during Epskamp’s trial,
including that (1) de Jongh asked Epskamp
for “a favor” sometime around November
2011 (id. at § 2), (2) that the favor required
Epskamp to go to the Dominican Republic
and help transport “medical equipment” via
airplane from the Dominican Republic to
Africa (id. at § 3), and (3) de Jongh never
disclosed to Epskamp that the plane would
be carrying cocaine (id. at § 4). Epskamp
asserts that there is a “reasonable
probability” that the jury would have
acquitted him had this testimony been
offered at trial. (Doc. No. 269 at 9.)

The government submitted its brief in
opposition to Epskamp’s motion to vacate
on July 3, 2017 (17-cv-1646, Doc. No. 8),
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and Epskamp filed his reply on August 28,
2017 (17-cv-1646, Doc. No. 11).

Il. LEGAL STANDARD

Under 28 U.S.C. § 2255, “a federal
prisoner may move the sentencing court to
vacate, set aside, or correct the sentence on
the ground that such sentence was illegally
imposed.” Puglisi v. United States, 586
F.3d 209, 213 (2d Cir. 2009). Relief is
generally available “only for a constitutional
error, a lack of jurisdiction in the sentencing
court, or an error of law or fact that
constitutes a fundamental defect which
inherently results in a complete miscarriage
of justice.” United States vy. Bokun, 73 F.3d
8, 12 (2d Cir. 1995) (internal citations and
quotation marks omitted). If proven, a claim
of ineffective assistance of counsel is a
constitutional error that warrants relief under
Section 2255. United States v. Carmichael,
216 F.3d 224, 227 (2d Cir. 2000) (citing
United States v. Gordon, 156 F.3d 376, 381
(2d Cir. 1998)).

The Sixth Amendment right to counsel
requires that. a criminal defendant be
provided “the effective assistance of
counsel.” United States v. Daugerdas, 915
F. Supp. 2d 493, 495 (S.D.N.Y. 2013)
(citing McMann vy. Richardson, 397 U.S.
759, 771 n.l4 (1970)). This right to
effective assistance applies equally to trial
counsel and appellate counsel. Aparicio v.
Artuz, 269 F.3d 78, 95 (2d Cir. 2001) (citing
Evitts v. Lucey, 469 U.S. 387, 396-97
(1985)). To prevail on an_ ineffective
assistance of counsel claim, a_ petitioner
must prove that (1) his counsel’s
performance was deficient, and (2) he was
prejudiced by the deficient performance.

Gueits v. Kirkpatrick, 612 F.3d 118, 122 (2d
Cir. 2010) (citing Strickland v. Washington,
466 U.S. 668, 687 (1984)). An attorney’s
performance is considered deficient under
the Sixth Amendment only if it “fell below
an objective standard of reasonableness
under prevailing professional norms.”
Strickland, 466 U.S. at 688. However, in
determining whether an _ attorney’s
performance was objectively unreasonable,
a court must view the attorney’s conduct in
light of “the circumstances counsel faced at
the time of the relevant conduct... .”
Parisi v. United States, 529 F.3d 134, 141
(2d Cir. 2008) (internal quotation marks and
citations omitted); see also McKee v. United
States, 167 F.3d 103, 106 (2d Cir. 1999)
(“[A] court may not use hindsight to second-
guess counsel’s tactical choices.” (internal
quotation marks and citations omitted)). But
even if a petitioner is able to establish that
his counsel’s conduct was _ objectively
unreasonable, he must. still demonstrate
prejudice, which means that “there is a
reasonable probability that, but for counsel’s
unprofessional errors, the result of the
proceeding would have been different.”
Strickland, 466 U.S. at 694, While this
prejudice prong “does not require a showing
that counsel’s actions more likely than not
altered the outcome,” it does require a
petitioner to show that “[t]he likelihood of a
different result [was] substantial, not just
conceivable.” Harrington v. Richter, 562
U.S. 86, 112 (2011).

III. DISCUSSION

Epskamp raises two __ ineffective
assistance of counsel claims. First, he
argues that his attorneys provided
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ineffective assistance on appeal because
they failed to investigate the relevant law
surrounding a mitigating role reduction
under Section 3B1.2 of the United States
Sentencing Guidelines. (Doc. No. 269 at 4.)
Second, Epskamp argues that those same
attorneys were ineffective at trial because
they withdrew their request for de Jongh’s
deposition in Germany and later failed to
secure de Jongh’s testimony at trial via
CCTV. (/d. at 6-7.) The Court will discuss
each claim in turn.

A. Ineffective Assistance of Counsel on
Appeal

Epskamp contends that his attorneys
were ineffective on appeal because they
failed to investigate Amendment 794 to the
commentary of section 3B1.2 of the
Guidelines, which became effective after
Epskamp’s sentencing but before his appeal
to the Second Circuit. (Doc. No. 269 at 5.)
That amendment resolved a circuit split
regarding how courts should apply the
mitigating role reduction. Prior to
Amendment 794, some courts — including
those within the Second Circuit — compared
a defendant’s conduct to that of both his co-
conspirators and the typical offender. See,
e.g., United States v. Yu, 285 F.3d 192, 200
(2d Cir. 2002) (“[T]his Circuit has held that
a minor-role adjustment is not available
merely on a showing that the defendant
played a lesser role than his co-conspirators;
to be eligible for a reduction, the defendant’s
conduct must be minor as compared to the
average participant in such a crime.”
(internal quotation marks and_ citations
omitted)). By contrast, other courts had
adopted an approach whereby defendants

were compared to other participants in their
own criminal activity but not to the typical
offender. See, e.g., United States vy.
Johnson, 297 F.3d 845, 874 (9th Cir. 2002)
(“Clarifying [section 3B1.2], we have held
that a defendant’s culpability is to be
measured against his co-conspirators, not the
hypothetical average participant.” (internal
quotation marks and citations omitted)).
Amendment 794 resolved the split by
adopting the approach of the Seventh and
Ninth Circuits. U.S. Sentencing Guidelines
Manual app. C, amend. 794 (“[W]hen
determining mitigating role, the defendant is
to be compared with the other participants
‘in the criminal activity.””). According to
Epskamp, his attorneys’ failure to reference
Amendment 794 on appeal constituted
ineffective assistance. (Doc. No. 269 at 5—
6.)

Epskamp’s claim that appellate counsel
was ineffective for not citing Amendment
794 is meritless, however, because he cannot
show a reasonable probability that the result
of his appeal would have been different had
they done so. See, e.g., Strickland, 466 U.S.
at 694; Hill v. United States, No. 14-cr-206,
2017 WL 327474 (E.D.N.C. Jan 23, 2017)
(finding counsel was not ineffective for
failing to raise Amendment 794 at
sentencing where doing so would not have
benefited the defendant because defendant’s
role in the conspiracy was clearly not
minor). The revised commentary to Section
3B1.2 makes clear that the mitigating role
reduction is reserved solely for a defendant
who “plays a part in committing the offense
that makes him substantially less culpable
than the average participant in the criminal
activity.” U.S.S.G. § 3B1.2 cmt., app. n.
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3(A). Although Epskamp may not have
been the leader of the conspiracy, it can
hardly be argued that he was “substantially
less culpable” than the other participants in
the scheme to bring a thousand kilograms of
cocaine to Belgium from the Dominican
Republic. As the Court noted at sentencing,
the conspiracy in which Epskamp
participated was “horizontal” rather than
“vertical.” (Sent. Tr. at 20:13-14.) In other
words, Epskamp was no more “fungible
than the pilots or any more fungible than
many of the other links” in the conspiracy.
(Id. at 24:15-18.) He was “hand-picked” for
his role, spent “over a week” in the
Dominican Republic coordinating — the
scheme with Watson, understood his role in
the conspiracy, and expected to receive
50,000 Euros and have an outstanding drug
debt forgiven in exchange for his
participation. (/d. at 24:15—-25:7.) On these
facts, the Court concluded Epskamp was
“not just a fungible babysitter,” but rather
was someone with “a more important role.”
(/d. at 23:8-10.) Significantly, a unanimous
panel of the Second Circuit affirmed that
conclusion, observing that “[t]he mere fact
that Epskamp played a discrete role as
courier does not mean that his role was
necessarily minor.” Epskamp, 2016 WL
4191126, at *2. Thus, given that Epskamp’s
conduct — even when compared only to the
other members of his conspiracy — cannot be
deemed minor, he has failed to demonstrate
that there is a substantial likelihood that he
would have received the wminor-role
adjustment if his attorneys had attempted to
rely on Amendment 794. Accordingly,
Epskamp’s assertion that he received

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ineffective assistance during his appeal must
be rejected.

B. Ineffective Assistance of Counsel at
Trial

Epskamp next argues that his attorneys
provided ineffective assistance at trial
because of their handling of de Jongh, whom
Epskamp asserts would have provided
exculpatory testimony. (Doc. No. 269 at 6—
7.) According to Epskamp, the first error his
attorneys made regarding de Jongh was
withdrawing their request to depose him
pursuant to Rule 15. (/d. at 8.) Their
second putative error was their failure to
secure de Jongh’s testimony via CCTV
during trial. (/d.) The Court will analyze
each alleged error in turn.

1. Cancellation of the Rule 15 Deposition

Epskamp asserts that his attorneys’
decision to cancel de Jongh’s deposition
constituted ineffective assistance because de
Jongh was “a potential material witness
[who] was willing to provide crucial
exculpatory testimony for the defense.” (/d.
at 7.) According to the purported affidavit
from de Jongh, attached to Epskamp’s
petition, de Jongh would have testified to
Epskamp’s lack of knowledge that the plane
he boarded in the Dominican Republic
contained drugs (Doc. No. 269, Ex. A at
993, 4), thereby negating an_ essential
element of the crime for which Epskamp
was convicted (Doc. No. 269 at 7-8).
Epskamp thus alleges that his attorneys were
objectively unreasonable to cancel de

Jongh’s deposition. (/d.)
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As an initial matter, the government
questions the authenticity and reliability of
de Jongh’s affidavit. (17-cv-1646, Doc. No.
8 at 24.) Specifically, the government
points out that the affidavit, which contains
both Dutch and English versions of de
Jongh’s purported testimony, does not
contain “a declaration from a certified
interpreter” establishing the validity of the
translation nor any indication as to “which
[version] is the original . . . .”  (/d.)
Additionally, while the English version is
dated, the Dutch version is not.  (Jd.)
Finally, the government notes that although
de Jongh declared in the affidavit that his
statements were being made “under the laws
of the United States . . . and under penalty of
perjury,” he later stated that he was
unwilling to come to the United States,
which is the jurisdiction where he would be
subject to punishment for perjury. (dd.
(quoting Doc. No. 269, Ex. A § 16).) In
light of these issues with the affidavit, the
government asserts that the affidavit “is an
unreliable indicator of the testimony that de
Jongh purportedly would have provided|.]”
(17-cv-1646, Doc. No. 8 at 24.)

Although the government’s concerns
about the reliability of the affidavit may well
be valid, the Court will assume for the
purposes of this motion that the affidavit is
what it purports to be (i.e., an affidavit from
de Jongh) and that it is a reliable indicator of
what de Jongh would have testified to had
he been deposed. See Herzog v. United
States, 38 F. App’x 672, 674 (2d Cir. 2002)
(concluding that petitioner’s ineffective
assistance claim failed “even if all of [his]
factual allegations [were] accepted as true”’).
Clearly, if the affidavit were taken at face

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value and deemed to be reliable, there can
be little doubt that de Jongh could have
provided at least some _ exculpatory
testimony. (See Doc. No. 269 at 7.)

Nevertheless, under Strickland, the first
question that must be answered regarding
the decision of Epskamp’s attorneys to
cancel de Jongh’s deposition is whether that
decision “fell below an objective standard of
reasonableness” under “prevailing
professional norms.” Strickland, 466 U.S. at
688. On the facts before it here, the Court
has little hesitation concluding that the
cancellation of de Jongh’s deposition was a
“tactical decision” constituting “sound trial
strategy.” Jd. at 689; see also United States
v. Eyman, 313 F.3d 741, 743 (2d Cir. 2002)
(per curiam) (“[The] failure to call a witness
for tactical reasons of trial strategy does not
satisfy the standard for ineffective assistance
of counsel.”). As Epskamp acknowledges,
the decision to cancel de Jongh’s deposition
was made after counsel interviewed another
expected defense witness, Rawson Watson,
whom counsel apparently believed would be
a much better witness than de Jongh. (Doc.
No. 269 at 7.) Indeed, Epskamp indicates
that, after counsel interviewed Watson,
counsel told Epskamp that Watson was “the
best witness we can have” (id.), since
Watson — unlike de Jongh — had been with
Epskamp in the Dominican Republic, where
most of the critical events regarding the
conspiracy occurred (Tr. at 246:18-267:20;
222:14-223:16:; see also Doc. No. 269, Ex.
A 44). Moreover, Watson would have been
able to provide live, in-person testimony at
trial, thereby avoiding the delay and
evidentiary objections likely to accompany a
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Rule 15 deposition taken in Germany by a
German judge.

The objective reasonableness of
counsel’s belief that Watson was a better
witness than de Jongh can hardly be
disputed. Watson could testify in person
about the most critical events in the case
(i.e., the events in the Dominican Republic);
de Jongh could not. And while both would
be subject to impeachment regarding their
past criminal conduct, testimony regarding
de Jongh’s criminal history would likely
have been more harmful to the defense,
especially considering the strong possibility
that it would have opened the door to the
government questioning de Jongh about his
past relationship with Epskamp, which,
among other things, would have included
the prior drug debt that Epskamp sought to
have forgiven by participating in the
conspiracy. (See Tr. at 224:13-225:14; see
also 17-cv-1646, Doc. No. 8 at 22 n.10.)
Indeed, Podunajec testified that Epskamp
joined the operation in the Dominican
Republic to pay off a debt to his friend
“Jack” from Holland that resulted from a
failed drug deal. (Tr. 224:13-225:14.) In
his affidavit, de Jongh stated that he resided
in Holland and admitted that he asked
Epskamp to go to the Dominican Republic.
(Doc. No. 269, Ex. A 9 3, 4.) As the
government points out, “an obvious line of
questioning” had de Jongh testified would
have concerned the issue of whether de
Jongh was in fact “Jack” from Holland to
whom Epskamp owed a drug debt. (17-cv-
1646, Doc. No. 8 at 22 n.10.) Epskamp’s
counsel could have thus reasonably believed
that any benefit from de Jongh’s anticipated
testimony would have been outweighed by

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its potential not only to undercut the
defense’s theory that Epskamp had no idea
that the operation in the Dominican
Republic involved cocaine, but also by its
potential to corroborate Podunajec and
further connect Epskamp to past drug
dealing. See United States v. Cruz, 785 F.2d
399, 406 (2d Cir. 1986) (finding counsel not
ineffective for refusing to call witness whose
past “large-scale heroin dealings” and
“relationship with [defendant] would have
harmed defendant’s case). Therefore, at the
time the decision to cancel de Jongh’s
deposition was made, it was objectively
reasonable for counsel to believe that
Epskamp would benefit from having
Watson, rather than de Jongh, testify about
Epskamp’s alleged lack of knowledge that
the flight from the Dominican contained
cocaine. See Mayo v. Henderson, 13 F.3d
528, 533 (2d Cir. 1994) (noting that courts
reviewing ineffective assistance claims
“may not use hindsight to second-guess [an
attorney’s] strategy choices”).

Moreover, the fact that Epskamp wished
to expedite his trial instead of pursuing de
Jongh’s deposition also weighs heavily
against his claim of ineffective assistance of
counsel. In the November 7, 2014 letter
withdrawing the deposition request (which
counsel made clear was approved by
Epskamp), counsel informed the Court that
Epskamp was anxious for an immediate trial
date. (Doc. No. 160.) At the hearing eleven
days later, Epskamp — through counsel —
told the Court that he preferred a trial date in
February or earlier. (17-cv-1646, Doc. No.
8-1 at 3:18-20 (“My client would prefer
February. He would prefer earlier, but my
schedule precludes _ that.”).) In fact,
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Epskamp’s desire for an earlier trial date
prompted the Court to advise Epskamp that
if he wished to have an earlier trial date than
his current counsels’ schedule would allow,
he could “explore the opportunity of getting
new counsel.” (/d. at 4:2-7.) Epskamp then
took a moment to confer with counsel
regarding whether he should seek new
counsel in order to get an earlier trial date,
but he ultimately declined. (Ud. at 4:10-13.)
When the Court proceeded to set a trial date
following Epskamp’s request, the Court
reminded Epskamp that the reason trial had
previously been delayed was to allow him to
pursue a deposition of de Jongh. (d. at
6:22—24 (“[The letters rogatory and requests
for assistance necessary to secure de Jongh’s
deposition has] been the reason for
adjourning and extending the time for this
case. You no longer want that so we are
now going to have a trial.”).) Epskamp —
having made the decision to forego de
Jongh’s deposition to obtain an earlier trial
date — cannot now fault his attorneys for
complying with his wishes. Indeed, the
Second Circuit has made clear that
“[d]eferring to the wishes of a client does
not constitute ineffective assistance of
counsel.” Jn re Terrorist Bombings of U.S.
Embassies in East Africa, 552 F.3d 177, 196
(2d Cir. 2008). Accordingly, Epskamp’s
withdraw the

counsels’ decision to

deposition request in light of his request for
an earlier trial was not objectively
unreasonable.

Yet even if Epskamp could somehow
demonstrate that his attorneys’ decision to
cancel de Jongh’s deposition was
objectively unreasonable, he would still not
be entitled to relief because he has not

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satisfied Strickland’s prejudice prong, which
requires him to show that “but for counsel’s
unprofessional errors, the result of the
proceeding would have been different.”
Strickland, 466 U.S. at 694. In other words,
Epskamp has failed to show that there is a
reasonable probability that he would not
have been convicted had de Jongh’s
potential deposition testimony been admitted
at trial. First, it is not at all clear that de
Jongh would have sat for such a deposition
or that such testimony, even if given, would
be admissible in a United States court. (See
Doc. No. 158 (noting the government’s
position that it reserved the right to
challenge the admissibility and weight of de
Jongh’s testimony given that “under German
procedure, neither Mr. Epskamp nor the
government can question the deponent
directly, but rather, must submit questions
either in advance or at the deposition to the
German judge who will be in charge of the
deposition.”).).

More importantly, the weight of the
evidence against Epskamp was nothing short
of overwhelming, making it highly
improbable that de Jongh’s expected
testimony would have provided the jury with
reasonable doubt. As noted above, the
government produced at trial, among other
things, messages and recorded
telephone calls incriminating Epskamp,
physical evidence (e.g., Epskamp’s suit
jacket and wallet on the plane carrying a
metric ton of cocaine), and the testimony of
a cooperating witness and law enforcement
officers. (See, e.g., Tr. at 599:6-602:24.)
While Epskamp argues that de Jongh’s
testimony would have demonstrated that he
did not know the plane contained drugs

text
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because de Jongh allegedly told Epskamp
that the plane would be carrying medical
supplies (Doc. No. 269, Ex. A §§ 3-4), the
jury heard testimony from Podunajec — a
member of the conspiracy who, unlike de
Jongh, was with Epskamp in the Dominican
Republic (Tr. at 222:14—223:16) — indicating
that he told Epskamp in the Dominican
Republic that the plane would be carrying “a
thousand kilo[grams of] cocaine” (Tr. at
224:5). Moreover, there is not one mention
of medical supplies or shipments to Africa
in any of the text messages or recorded
phone calls introduced at trial. Hence, the
jury would likely have viewed de Jongh’s
deposition testimony with great skepticism.
See, e.g., Moskowitz v. United States, No.
01-cv-10644 (MBM), 2002 WL 31119269,
at *4 (S.D.N.Y. Sept. 24, 2002) (rejecting
ineffective-assistance claim based on
counsel’s failure to call a witness because
the jury would have been unlikely to credit
the testimony); Krasnigi v. United States,
195 F. Supp. 3d 621, 634 (S.D.N.Y. 2016)
(same).

Finally, even if de Jongh’s testimony
regarding Epskamp’s knowledge were
credited by the jury, it would only have
demonstrated that Epskamp might have
initially been unaware that the plane would
be carrying drugs, not that he lacked the
requisite knowledge by the time of his
arrest. Put simply, de Jongh’s testimony —
even if believed — would not have rebutted
the testimony of Podunajec or the other
evidence introduced at trial relating to
Epskamp’s conduct and knowledge after he
arrived in the Dominican Republic.
Accordingly, the Court has little difficulty
concluding that Epskamp did not receive

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ineffective assistance of counsel when his
attorneys cancelled de Jongh’s deposition.

2. Counsel’s Failure to Secure de Jongh’s
Testimony via CCTV at Trial

Epskamp’s next contention is that his
attorneys were ineffective for failing to
secure de Jongh’s testimony via CCTV from
a German prison after learning Watson no
longer wished to testify. (Doc. No. 269 at
8.) To be clear, Epskamp is not arguing that
his attorneys made no attempt to secure the
testimony via CCTV. Indeed, Epskamp
concedes that they requested and received
the Court’s permission to have de Jongh
testify via CCTV. (d.) Nor does Epskamp
dispute that his attorneys also attempted to
contact the German prosecutor in charge of
handling such requests, although they were
ultimately unsuccessful due to the
unresponsiveness of the German authorities.
(Tr. at 3:3-8.) And the record is clear that
on the day trial was set to commence,
Epskamp’s counsel objected “to the lack of
response from the German government” and
even took the unconventional step of asking
the Court to contact the German authorities.
(ld. at 3:6-17.) Thus, by all appearances,
Epskamp’s attorneys did everything they
could reasonably do to procure de Jongh’s
testimony.

Despite his attorneys’ diligent efforts to
arrange the testimony via CCTV, Epskamp
contends they nevertheless provided
ineffective assistance by failing to ultimately
secure that testimony. But the Sixth
Amendment demands that counsel be
competent, not omnipotent. Under
Strickland, attorneys who fail to secure a
witness’s testimony despite their diligent
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efforts are not deemed ineffective. See, e.g.,
McTier v. New York, No. 07-cv-870, 2009
WL 792087, at *6 (E.D.N.Y. Mar. 23, 2009)
(rejecting argument that counsel was
ineffective for failing to secure missing
witness’s testimony where counsel made
sufficient attempts to do so). The record in
this case makes that although
Epskamp’s attorneys were ultimately unable
to secure de Jongh’s testimony, it was not
for lack of trying. (See Tr. at 3:3-17.) They
made a successful motion to seek de Jongh’s
testimony and made multiple attempts to
contact the relevant German authorities. (/d.
at 3:3-17 (“Mr. Luebke, the German
prosecutor, has been totally unresponsive.
We phoned him. We have e-mailed him as
recently as the weekend, and he has not
responded in any way.... We have done
everything we can do... .”).) Epskamp’s
attorneys cannot be faulted for the
unresponsiveness of the German authorities,
which was something completely beyond
their control. Cf Rodriguez v. Portuondo,
No. 01-cv-547, 2006 WL 2168314, at *8
(S.D.N.Y. Aug. 1, 2006) (finding counsel’s
failure to locate witness not objectively
unreasonable where nobody could provide
witness’s last name or address).

clear

And while Epskamp appears to suggest
that his attorneys should have requested a
continuance to secure de Jongh’s testimony
(Doc. No. 269 at 8), it was not objectively
unreasonable for them to decline to do so.
After all, because the Court had conditioned
the renewed Rule 15 request on the
testimony not delaying trial, counsel could
reasonably have believed a request for a
continuance would have been fruitless. See,
e.g., Narvaez v. United States, No. 02-cv-

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2308, 2003 WL 21749638, at *6 (S.D.N.Y.
July 29, 2003) (finding counsel not
ineffective where revival of motion for
continuance would have been fruitless given
that the court had previously rejected
defendant’s prior motions for a continuance
that were based on the same rationale).
Moreover, the record makes clear that
Epskamp himself had grown tired of waiting
and was demanding a trial forthwith. (See
17-cv-1646, Doc. No. 8-1 at 3:18—20.)

Yet even if Epskamp’s attorneys’ failure
to request a continuance could be considered
objectively unreasonable, the fact remains
that Epskamp has again failed to meet the
second prong of the Strickland test —
prejudice. In fact, while the prejudice
analysis regarding the decision to withdraw
the deposition request for de Jongh is
equally applicable here, there are two
additional reasons why his attorneys’ failure
to request a continuance to secure de
Jongh’s testimony would not have changed
the outcome of his trial.

First, there is no reason to believe that
such a continuance request, if made, would
have been granted. After all, a district court
“enjoy[s] broad discretion in granting or
denying trial continuances,” United States v.
Stringer, 730 F.3d 120, 127 (2d Cir. 2013),
and the Court in Epskamp’s case had
already made clear that the request to have
de Jongh testify via CCTV was conditioned,
in part, on the testimony not delaying trial.
(Doc. No. 173.) Epskamp’s counsel cannot
be deemed ineffective for declining to make
what almost certainly would have been a
fruitless motion for a continuance. See
Narvaez, 2003 WL 21749638, at *6.
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Second, even assuming, arguendo, that a
continuance would have been granted, it is
unclear, and in fact doubtful, that de Jongh
would have been permitted by German
authorities to testify via CCTV in a manner
consistent with United States federal
criminal procedure, which was the second
condition the Court placed on counsel
seeking de Jongh’s CCTV testimony. (Doc.
No. 173.) The record is clear that the
German authorities were unwilling to
accommodate United States procedures
during the previously scheduled deposition
request of de Jongh (see Doc. No. 158), and
there is no indication that they would have
been more willing to comply with United
States criminal procedure had they permitted
de Jongh to testify via CCTV. Indeed,
Epskamp has offered no evidence to suggest
that German authorities would have
permitted de Jongh to testify via CCTV at
all. Accordingly, Epskamp has not shown
that he was prejudiced by his counsels’
decision to not seek a continuance in order
to secure de Jongh’s testimony.

IV. CONCLUSION

In sum, the evidence at trial and
sentencing established that Epskamp, a
longtime drug trafficker, played a substantial
role in a scheme to transport a massive
amount of cocaine from the Dominican
Republic to Europe on a plane registered in
the United States. That Epskamp was
convicted at trial, and that his conviction and
sentence were affirmed on appeal, was
clearly a function of that evidence, not the
inadequacy of his attorneys, who
represented him vigorously and ably
throughout his trial, sentencing, and appeal.

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Thus, and for the reasons set forth above,
Epskamp’s Petition is DENIED.

Because Petitioner has not made a
substantial showing of the denial of a
constitutional mght, a _ certificate of
appealability will not issue. See 28 U.S.C. §
2253. The Court certifies under 28 U.S.C. §
1915(a)(3) that any appeal from this order
would not be taken in good faith and
therefore in forma pauperis status is denied
for the purpose of an appeal. See Coppedge
v. United States, 369 U.S. 438, 444-45
(1962).

The Clerk of Court is respectfully
directed to terminate the motion pending at
Doc. No. 269 in Case No. 12-cr-120, to
close Case No. 17-cv-1646, and to mail a
copy of this order to Petitioner.

SO ORDERED.

Cle J. SULLIVAN

United States Circuit Judge
Sitting by Designation

Dated: December 27, 2018
New York, New York
